                           Case 8:20-cv-00101-MSS-CPT Document 1-1 Filed 01/14/20 Page 1 of 3 PageID 10
                                                         Exhibit A to the Complaint
Location: Tarpon Springs, FL                                                                           IP Address: 47.196.216.110
Total Works Infringed: 54                                                                              ISP: Frontier Communications
 Work         Hash                                         UTC              Site          Published        Registered      Registration
 1            EDFC62C9AAB72DDFCD865F492AFC530D912B089E     09/24/2019       Tushy         09/23/2019       10/07/2019      PA0002205466
                                                           03:33:01
 2            D60A816D4C169B4B25EE36DAA2B2C7E67E345BC0     11/27/2019       Vixen         11/25/2019       12/09/2019      PA0002216264
                                                           00:50:51
 3            C66CB7D5D924FC8D5C68C719745BB62596B66AFD     11/21/2019       Vixen         11/20/2019       12/09/2019      PA0002216255
                                                           01:08:15
 4            D7849F96160CA679A287B837FEFE40DDEA87571B     11/07/2019       Blacked       11/06/2019       11/15/2019      PA0002211857
                                                           21:12:26
 5            8964815B3EE407A3EBFECD69C9A66DF0EFAA05A3     11/01/2019       Vixen         10/31/2019       11/15/2019      PA0002211917
                                                           23:44:54
 6            50B31F2C7B3A3B6AB997B8883FC629F56CBBA9AC     09/29/2019       Tushy         09/28/2019       10/21/2019      PA0002207776
                                                           04:05:08
 7            DA6E99522230ABDBF22D2C9897260D08FC094689     09/19/2019       Tushy         09/18/2019       10/01/2019      PA0002217340
                                                           09:29:44
 8            AE56D79258B3F062B731EF13E0188A0ACC1B0788     09/14/2019       Tushy         09/13/2019       10/07/2019      PA0002205470
                                                           01:41:31
 9            1D946378C32710A9E9D8A25EA87493FDE0146508     09/07/2019       Vixen         09/06/2019       09/13/2019      PA0002200698
                                                           00:21:37
 10           DAFCF5757D197C9C601DD0D9163B080BF0319EBD     09/04/2019       Blacked Raw   09/04/2019       09/13/2019      PA0002200700
                                                           18:18:53
 11           E1076A99E39DC97EBB42772E6B6E8A44471104F7     09/02/2019       Vixen         09/01/2019       09/17/2019      PA0002216134
                                                           21:24:10
 12           1A6470E21E54EE628069047098E9B5DFB9B17ED2     09/02/2019       Blacked       09/02/2019       09/13/2019      PA0002200702
                                                           21:23:10
 13           80F9044259AD9C63843A25A73CAFD64ACB18CEA3     08/28/2019       Blacked       08/28/2019       09/13/2019      PA0002200704
                                                           21:58:06
 14           9D0E21B1D1C9024F4EF0D3735144C55F30ED31D0     08/28/2019       Vixen         08/27/2019       09/17/2019      PA0002216129
                                                           04:39:51
 15           AB4B65F71419221DE70FCB74DAD797CB21429F3C     08/25/2019       Tushy         08/24/2019       09/17/2019      PA0002216213
                                                           02:08:40
 16           EC977E2980F8945172E61F868899C59CE850C90F     08/22/2019       Vixen         08/22/2019       09/17/2019      PA0002216215
                                                           21:33:14
 17           94A9D2E22A9B4ACF81A5EC69EE4DCA10983CAF23     08/21/2019       Blacked Raw   08/20/2019       09/13/2019      PA0002200701
                                                           03:01:38
                 Case 8:20-cv-00101-MSS-CPT Document 1-1 Filed 01/14/20 Page 2 of 3 PageID 11
Work   Hash                                       UTC          Site          Published    Registered   Registration
18     958114234F010ED12787587C6B9FA13E19388CF1   08/19/2019   Vixen         10/26/2018   12/10/2018   PA0002145824
                                                  14:30:29
19     AF2372F96C74B641C308A2D6DB6FE9944214A159   08/19/2019   Vixen         08/17/2019   09/10/2019   PA0002199413
                                                  03:43:29
20     AE22AB5504C05C2B883232F07799C9925A3CBA59   08/11/2019   Blacked Raw   08/10/2019   09/11/2019   PA0002199990
                                                  01:36:43
21     520B8FD2205BD05866304E15FF59E272165F07A1   07/23/2019   Blacked Raw   07/21/2019   08/27/2019   PA0002213243
                                                  20:45:20
22     D71FA8300D660A26679A2C53720C9F8C05F9CF79   07/18/2019   Tushy         07/15/2019   08/02/2019   PA0002192300
                                                  22:48:31
23     73AE32099EBCDFF152626E1D575C026CF59135DC   07/18/2019   Vixen         07/18/2019   09/10/2019   PA0002199410
                                                  22:47:55
24     AB6F5DDED2290838AD429C5C8048ECD822E37AFC   07/14/2019   Vixen         07/08/2019   09/10/2019   PA0002199411
                                                  06:31:00
25     5C0D8ECA7365BEE319443F580FD34AFAA8ED2835   07/01/2019   Tushy         06/30/2019   07/17/2019   PA0002188300
                                                  20:21:20
26     425B69EBF37AF69ECEF370C54A0B8F23AB28C401   07/01/2019   Vixen         06/28/2019   08/27/2019   PA0002213233
                                                  12:08:27
27     4F6E919AF772D9342F71D3479F6A4379B5E5EA40   06/24/2019   Vixen         06/23/2019   08/27/2019   PA0002213299
                                                  12:15:37
28     6F0F2340162AC6B591329AF430B79D1FC4342E6A   06/13/2019   Vixen         06/13/2019   08/02/2019   PA0002192295
                                                  23:47:33
29     005ECADE217D83653BCBCA490DC3249975B7A05A   06/09/2019   Vixen         06/08/2019   07/17/2019   PA0002188311
                                                  03:20:24
30     0C7A2AF51871DF88ED8DBE9CD59015D670C79A34   06/05/2019   Vixen         06/03/2019   07/17/2019   PA0002188305
                                                  19:55:52
31     2792CFE99C40641407BFC00440005D0FBAC48D6F   05/20/2019   Tushy         07/25/2018   09/05/2018   PA0002134601
                                                  18:15:46
32     83C2BE754F4FC48BDB450CAE625F879FAED66CED   05/10/2019   Vixen         05/09/2019   06/03/2019   PA0002178768
                                                  22:27:12
33     FDEAB1B3E4D42D587B2EE02F380247C859CA6EEB   05/06/2019   Tushy         05/06/2019   06/03/2019   PA0002178772
                                                  19:43:11
34     8F104C89FA74744BEB02B58214813B42F91E779A   04/29/2019   Vixen         04/29/2019   06/03/2019   PA0002178770
                                                  19:40:12
35     3AE42CF293CFFB030C91FF1DC013E5D178AE1DFF   04/22/2019   Tushy         04/21/2019   06/03/2019   PA0002178776
                                                  01:25:11
36     24AE3812ECC6B6C2A00EAFCCA42FCAFCE17F3EDC   03/31/2019   Vixen         03/30/2019   04/29/2019   PA0002169943
                                                  09:18:42
                 Case 8:20-cv-00101-MSS-CPT Document 1-1 Filed 01/14/20 Page 3 of 3 PageID 12
Work   Hash                                     UTC          Site          Published    Registered   Registration
37     357368276B0AC817665C03F98D81B5A2B6E90183 03/11/2019   Vixen         03/10/2019   04/29/2019   PA0002170360
                                                18:39:17
38     C0DCDFC904195D7C25CA60A49A0ABF99F63D6BBB 03/07/2019   Vixen         03/05/2019   03/31/2019   PA0002163982
                                                10:18:47
39     821F855568FE4AC5875613F128A9D9527DE3BF59 03/01/2019   Vixen         02/28/2019   03/31/2019   PA0002163973
                                                04:01:08
40     A8F45C10E6EB2E80DA815F5D83F423D9CCF885AC 02/25/2019   Vixen         02/23/2019   04/29/2019   PA0002169931
                                                00:18:14
41     BD854768B2F7F60A088E5A249207DEACEE5A7CD0 02/23/2019   Vixen         02/13/2019   03/11/2019   PA0002158413
                                                13:28:57
42     26027D4BBA9366856012B8C062375891C7926188 02/08/2019   Vixen         02/08/2019   03/24/2019   PA0002183193
                                                23:55:43
43     56BF0671C368B87782691AB922B69AF7CF37FB90 01/29/2019   Vixen         01/29/2019   03/24/2019   PA0002182715
                                                21:03:56
44     DB96A7BA37F3DA55AE4BFC5882FD07052B7F3B8D 01/20/2019   Vixen         01/19/2019   02/22/2019   PA0002155139
                                                05:28:42
45     FCF2223C2AFD2901C1AC8C9EA95467B555E65E1E 01/14/2019   Vixen         01/14/2019   02/02/2019   PA0002155387
                                                21:58:43
46     074A66739F74AB2792031B4D9FE311B07B73FBB4 01/12/2019   Vixen         01/09/2019   02/02/2019   PA0002155377
                                                03:32:41
47     16964274EEF2DEB09294CF8A21B1AFBB9CC70842 01/12/2019   Tushy         01/11/2019   01/22/2019   PA0002147904
                                                03:29:10
48     9CF787EED06B89DD95D45F407DEB97558309C434 01/06/2019   Blacked       01/05/2019   01/22/2019   PA0002147685
                                                12:52:00
49     81E09376DDB4DBE7806032952C003C92FD898CD4 12/29/2018   Blacked       12/11/2018   01/22/2019   PA0002147907
                                                13:26:46
50     45D4AF0C0675541261833DD3255ABBED35C8CBD4 12/29/2018   Blacked Raw   12/20/2018   01/22/2019   PA0002147906
                                                13:26:45
51     A13372D383B6487823771167C3024FF64D0BAF6F 12/16/2018   Vixen         12/15/2018   01/22/2019   PA0002147905
                                                04:00:17
52     D33B55F4B260300934470B2571AA379EBBA73038 12/13/2018   Vixen         12/10/2018   01/22/2019   PA0002149491
                                                11:01:20
53     12543516E11230C00906E75AE9D649CDEBAB9844 12/01/2018   Vixen         11/30/2018   12/18/2018   PA0002141918
                                                12:38:52
54     650F857E696B63F0B9346A314CF85FEC5839E077 11/29/2018   Tushy         11/27/2018   01/22/2019   PA0002149851
                                                02:52:10
